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LEG 008 (12/01)j

Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 1 of 16

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
THAN ORN, an individual,
Plaintiff, NO.
V.
Superior Court of the State of
CITY OF TACOMA, a municipal Washington County of Pierce
corporation, and KRISTOPHER No. 13-2-13886-2)

CLARK, in his individual capacity,
NOTICE OF REMOVAL OF ACTION
Defendants. FROM STATE COURT

 

 

 

 

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. § 1441(a),
defendant hereby removes this action from the Superior Court of the State of
Washington, County of Pierce, to the United States District Court for the
Western District of Washington at Tacoma. Defendants appear solely for the
purpose of removal and for no other purpose, reserving all other defenses

available to defendant and alleges on information and belief as follows:

Tacoma City Attorney
Civil Division
NOTICE OF REMOVAL OF ACTION 747 Market Street, Room 1120
FROM STATE COURT - Page 1 of 3 Tacoma, Washington 98402-3767
(253) 591-5885 / FAX 591-5755

 
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LEG 008 (12/01)j

 

 

Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 2 of 16

1. Plaintiff filed the above-captioned action against Defendants City
of Tacoma and Kristopher Clark in the Superior Court of the State of
Washington, County of Pierce, on October 10, 2013. The defendants were
served with a copy of the Summons and Complaint on October 16, 2013, a
copy of which is attached hereto as Exhibit A.

2. This Notice of Removal is being filed within 30 days after the
matter was filed in the Superior Court and served on the defendants, and thus
is timely filed pursuant to 28 U.S.C. § 1446(b).

3. This is a civil action for which the United States District Court has
original jurisdiction pursuant to 28 U.S.C. §1331, as plaintiff, Than Orn, has
asserted a violation of his civil rights as secured by federal law.

4. Plaintiff has also asserted state tort actions. Defendants request
that all claims be removed from the Superior Court of the State of Washington,
County of Pierce, and that this Court exercise supplemental jurisdiction over
these claims pursuant to 28 U.S.C. § 1367(a) and 28 U.S.C. §1441(c).

5. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings,
and orders served upon defendant to date are attached.

6. The defendants will promptly file a copy of this Notice in the
Superior Court of the State of Washington, County of Pierce, and will serve a

copy of the same on the plaintiff in accordance with 28 U.S.C. § 1446(d).

/
Tacoma City Attorney
Civil Division
NOTICE OF REMOVAL OF ACTION 747 Market Street, Room 1120
FROM STATE COURT - Page 2 of 3 Tacoma, Washington 98402-3767

(253) 591-5885 / FAX 591-5755

 
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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 3 of 16

WHEREFORE, the defendants give notice that the above-captioned
action commenced against it in the Superior Court of the State of Washington,
County of Pierce, has been removed to this Court.

DATED this Ste day of November, 2013.

ELIZABETH A. PAULI, City Attorney

By: Stud (WA
JEAN P. HOMAN
WSBA# 27084
Deputy City Attorney
Attorney for Defs. City of Tacoma
and Kristopher Clark

 

CERTIFICATE OF SERVICE

| hereby certify that on [I- £-(3 , | electronically
filed, through my staff, the foregoing with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the attorneys of

record on file.

JEAN P. HOMAN
WSBA#27084

Attorney for Def. City of Tacoma
Tacoma City Attorney’s Office
747 Market Street, Suite 1120
Tacoma, WA 98402

(258) 591-5885

Fax: (253) 591-5755

jhoman @ci.tacoma.wa.us

 

Tacoma City Attorney
Civil Division
NOTICE OF REMOVAL OF ACTION 747 Market Street, Room 1120

FROM STATE COURT - Page 3 of 3 Tacoma, Washington 98402-3767
(253) 591-5885 / FAX 591-5755

 
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Case 3:13-cv- per MJP Document1 Filed 11/08/13 Page 4 of 16
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TACOMA CITY KEVIN STO
marron ty NO: 13-2-134

SUPERIOR COURT OF THE STATE OF WASHINGTON

FOR PIERCE COUNTY
THAN ORN, individually,
Plaintiff,
vs. NO.
SUMMONS

CITY OF TACOMA, a municipal
corporation, and; KRISTOPHER CLARK, in
his individual capacity,

 

Defendants.

TO ALL NAMED DEFENDANTS:

A lawsuit has been started against you in the above entitled court by Plaintiff.
Plaintiff's claims are stated in the written Complaint, a copy of which is served upon you with

this Summons.

In order to defend against this lawsuit, you must respond to the Complaint by stating
your defense in writing, and serve a copy upon the person signing this Summons within
20 days after the service of this Summons, excluding the day of service, or a default judgment
may be entered against you without notice. A default judgment is one where a Plaintiff is

entitled to what he asks for because you have not responded. If you serve a notice of

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KONVERTETIS AMALA

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Tacoma, WA 98402
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www.pcvalaw.com

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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 5 of 16
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appearance on the undersigned person, you are entitled to notice before a default judgment

may be entered.

Any response or notice of appearance which you serve on any party to this lawsuit
must also be filed by you with the court within 20 days after the service of Summons,

excluding the day of service.

If you wish to seek the advice of an attorney in this matter, you should do so promptly

so that your written response, if any, may be served on time.

This Summons is issued pursuant to Rule 4 of Civil Rules for Courts of Limited

Jurisdiction.
Dated this 10 day of October, 2013.

PFAU COCHRAN VERTETIS AMALA, PLLC

SO Cbs

Darrell L. Cochran, WSBA No. 22851

Darrell@pcvalaw.com
Loren A. Cochran, WSBA No. 32773

loren@pcvalaw.com
Attorneys for Plaintiff

LAW OFFICE OF THOMAS A. BALERUD

By: /s/ Thomas A. Balerud

Thomas A. Balerud, WSBA No. 19539
Attorney for Plaintiff

 

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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 6 of 16
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IN COUNTY CLERK'S OFFICE

R ECE j VE Di oa PIERCE COUNTY, WASHINGTON

October 10 2013 10:57 AM

OCT 16 2013 eto her KEVIN STOGK

TACOMA NO: 13-2-13466-2
CITY AT : 13-2-13886-
CIVIL Divisione" ont

SUPERIOR COURT OF THE STATE OF WASHINGTON

FOR PIERCE COUNTY
THAN ORN, individually,
Plaintiff,
NO.
vs.
COMPLAINT FOR DAMAGES

CITY OF TACOMA, a municipal
corporation, and; KRISTOPHER CLARK, in | JURY DEMANDED
his individual capacity,

 

Defendants.

COMES NOW Plaintiff Than Orn, by and through his attorneys, Darrell Cochran,
Loren Cochran and Pfau Cochran Vertetis Amala PLLC, and Thomas Balerud and The Law
Office of Thomas A. Balerud and hereby alleges as follows:

IL INTRODUCTION

1.1 Thirty-four year old Than Orn was unlawfully shot multiple times in the back,
the back shoulder and the back of his neck by Tacoma police officer Kristopher Clark for
failing to obey police instructions.

12 Asa result of his injuries, Plaintiff Orn is paralyzed below the waist and
requires continuing medical and respite care. Orn has also lost his ability to work in his
chosen profession and has experienced severe mental and emotional injuries including the

collapse of his marriage as a result of Kristopher Clark’s excessive and unlawful use of force.

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COMPLAINT FOR DAMAGES 1 of 9

 

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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 7 of 16
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1.3 The City of Tacoma conducted a Pursuit Review of the police response
involving Than Orn and concluded that all officers needed; 1) Additional Pursuit
Immobilization Technique (PIT) Training; 2) Improved radio communications relaying
relevant information; 3) To review of the number of responding vehicles, and; 4) Improved

command and on-scene supervisory directions. In addition, the City of Tacoma conducted a

Use of Deadly Force review and concluded that Officer Clark needed additional training in

environmental awareness, tactical positioning and officer safety. The systemic failures of the
Tacoma Police Department, including but not limited to those areas addressed above, resulted
in an unnecessary and unlawfully excessive use of force which has left Than Orn permanently
disabled, in constant physical pain and mentally and emotionally devastated. The City of
Tacoma and its police department were deliberately indifferent to the constitutional rights of
Than Orn by failing to adequately train its officers, and/or are believed to have express
policies, and/or are believed to have widespread practices which encouraged and enabled the
use deadly force in an unconstitutional manner that jeopardizes the safety of all citizens.
Il. PARTIES

2.1 Plaintiff Than Orn was a resident of Pierce County, Washington at all times
relevant to this action.

2.2 Defendant City of Tacoma is a Washington municipal entity with police
powers existing pursuant to the Washington State Constitution and the Constitution of the
United States. Defendant City of Tacoma is responsible for formulating and implementing the
Tacoma Police Department’s policies and procedures and ensuring its officers are properly

and adequately trained.

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COMPLAINT FOR DAMAGES 2 of 9

 

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Case 3:13-cv-05974-MJP Document1 Filed a i Page 8 of 16

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2.3 Defendant Kristopher Clark is or was at all relevant times a City of Tacoma

police officer who, all times relevant hereto, was acting under color of law.
I. JURISDICTION AND VENUE S

3.1 Venue is proper in Pierce County under RCW 4.12.020.

3.2 Jurisdiction is proper under RCW 4.96.010 and 4.96.020. A City of Tacoma
claim for damages form was presented to the City of Tacoma, City Clerk’s Office as directed
on the tort claim form. More than sixty (60) calendar days have elapsed since the filing of the
tort claim form such that filing of this action in allowed pursuant to Pursuant to RCW
4.96.020.

IV. JURY DEMAND
4.1 Plaintiff hereby demands a jury trial on the causes of action set forth herein.
V. STATEMENT OF FACTS

5.1 On October 12, 2011, at or around 8:30 p.m., Plaintiff Than Orn was driving
his family car, registered to his wife at his home address, in South Tacoma.

5.2 At or about that same time, upon information and belief, Tacoma Police
Department (TPD) Patrol Sgt. Alan Morris began following Orn allegedly because Orn was
driving without lights.

5.3. A short time later, Morris called over the police radio system to report that Orn
allegedly would not stop the vehicle. Approximately five (5) minutes after he began
following Orn, Morris told dispatch the vehicle was not driving recklessly, just that driver

allegedly would not stop.

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COMPLAINT FOR DAMAGES 3 of 9

 

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5.5 Upon information and belief, TPD police units were ordered to conduct a
Pursuit Immobilization Technique (PIT) maneuver on Than Orn’s vehicle but failed to do so.

5.6 At approximately 8:43 p.m., all units were ordered to stay in vehicles.

5.7. At or about this same time, Than Orn continued on toward his apartment
complex located at 6634 Tacoma Mall Boulevard. Upon information and belief, Orn’s speed
never exceeded 30 miles per hour.

5.8 At approximately 8:46 p.m., Orn pulled into his apartment complex with TPD

.K-9 Officer David Johnson directly behind him. Officer Johnson later testified under oath

that Orn’s vehicle speed was little more than a crawl. Upon information and belief, Officer
Johnson ordered all units again to stay in their vehicles.

5.9 At or about this same time, Defendant Kristopher Clark was positioned, along
with approximately twelve (12) additional police units, at or very near the parking lot of Than
Orn’s apartment complex waiting for Orn to arrive.

5.10 As Plaintiff Orn pulled into his apartment complex at little more than a crawl,
Defendant Kristopher Clark exited his police vehicle, despite orders to stay in his vehicle, and
according to TPD Officer Robert DeNully, Clark began “running and shooting” at Plaintiff
Than Orn. Defendant Clark is the only TPD officer to draw and fire his weapon at Orn.

5.11 Defendant Clark shot ten (10) times. According to a ballistics investigation,
eight (8) of Clark’s shots entered through the rear of Than Orn’s vehicle as Orn’s vehicle was
moving away from Defendant Clark. The other two (2) shots by Clark were fired through the
rear passenger window or the rear passenger wing window. These two other shots were again

fired while Orn’s vehicle traveled away from Defendant Clark.

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COMPLAINT FOR DAMAGES 4 of 9

 

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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 10 of 16
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5.12 Plaintiff Than Orn was struck multiple times in the neck, right shoulder and
back by Defendant Clark’s gunshots. According to medical reports, Orn suffered complete
spinal cord injury (SCI) at the first lumbar vertebra due to a bullet lodged in his spine.
Plaintiff also suffered severe cervical spine trauma including fractures of the fourth, fifth and
sixth cervical vertebrae transverse process, as well as a fracture to his right scapular. Plaintiff
Orn is not expected to recover any function below the L1 level of his spine.

VI. CAUSES OF ACTION
A. Unconstitutional Use of Excessive Force by Defendant Kristopher Clark.

6.1 Plaintiff re-alleges the paragraphs set forth above.

6.2 The Fourth Amendment to the United States Constitution prohibits
unreasonable searches and seizures of the person. This protects citizens and members of the
community and prohibits the government from using excessive force against those citizens.
The shooting of a fleeing suspect constitutes a Fourth Amendment “seizure.” The Fourteenth
Amendment of the U.S. Constitution applies the Fourth Amendment's provisions against state
and local actors.

6.3. At all material times, Officer Clark operated under color of law.

6.4 Officer Clark violated the Fourth Amendment’s clearly established
prohibitions against excessive force when he employed the use of deadly force against Than
Orn for failing to yield or failing to obey instructions without any objectively reasonable
belief that Orn posed an immediate threat of harm to himself or others. Than Orn was

unarmed and was not suspected of a violent criminal offense. Moreover, Orn was driving out

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COMPLAINT FOR DAMAGES 5 of 9

 

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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 11 of 16
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of the path of police officers at an extremely slow speed but was nonetheless shot by a
chasing Officer Clark in the back, back shoulder and the back of the neck.

6.5 As a direct and proximate result of these constitutional violations, Than Orn
was shot and seriously and permanently injured, and continues to suffer, experiencing
substantial physical, mental and emotional pain, anguish and anxiety.

B. Violations of Constitutional Rights by Defendant City of Tacoma.

6.6 Plaintiff re-alleges the paragraphs set forth above.

6.7 Defendant City of Tacoma Police Department violated Plaintiffs
Constitutional rights under the Fourth and Fourteenth Amendments to the U.S. Constitution,
as set forth herein, and in other respects as well.

6.8 Defendant City of Tacoma and the Tacoma Police Department have customs,
policies, and practices that amount to deliberate indifference to the rights of persons with
whom its officers regularly come into contact, including nonviolent suspects like Than Orn.

6.9 Defendants City of Tacoma and the Tacoma Police Department, with
deliberate indifference, failed to train the Tacoma Police Department’s law enforcement
officers and failed to adopt and implement policies for, among other things, the use of de-
escalation techniques, non-lethal tactics, proper nonviolent suspect apprehension techniques,
and the decision-making process that should accompany use of deadly force.

6.10 The failure by Defendant City of Tacoma and the Tacoma Police Department
to adequately and appropriately train its officers and employee amounts to deliberate
indifference to the rights of the persons with whom the Tacoma Police Department’s

employees regularly come into contact, including nonviolent suspects like Than Orn.

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COMPLAINT FOR DAMAGES 6 of 9
911 Pacific Avenue, Suite 200
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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 12 of 16
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6.11 It was highly predictable that Defendant’s failures would result in
constitutional violations, like those that occurred in this case. Plaintiff's permanently
debilitating injuries are the foreseeable consequence of the Tacoma Police Department’s
failure to equip its law enforcement officers with the necessary training and tools to handle
recurring situations, such as those involving a nonviolent suspect failing to yield or failing to
obey an officer’s instructions.

6.12 The actions of the officers involved, which deprived the Plaintiff of his
Constitutional rights, conformed to official policy, custom, and practice of Defendant City of
Tacoma. Defendant City of Tacoma and the Tacoma Police Department’s policy of shooting
an unarmed individual failing to yield, but avoiding officers and driving at an extremely low
speed is blatantly unconstitutional and jeopardizes the safety of all citizens, as evidenced by
the police shooting of Than Om. Moreover, Defendant City of Tacoma has ratified the
conduct of Defendant Clark in relation to the injuries of Than Orn, by refusing to
appropriately sanction Defendant Clark for his actions.

6.13 As a result of the actions and deliberate indifference of Defendant City of
Tacoma and the Tacoma Police Department, Than Orn was shot multiple times in the back,
back shoulder and neck, including the spine. Plaintiff Orn is permanently injured and
continues to suffer, experiencing substantial physical, mental and emotional pain, anguish and
anxiety.

Cc. Negligent and Grossly Negligent Hiring, Training and Supervision of
Employees and Agents.

6.14 Plaintiff re-alleges the paragraphs set forth above.

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COMPLAINT FOR DAMAGES 7 of 9

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Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 13 of 16
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6.15 Defendants have a duty to use reasonable care in hiring, training and
supervising employees and agents.

6.16 Defendants breached this duty in a negligent and grossly negligent manner. As
a proximate result of Defendants’ breach, Than Orn is permanently injured and continues to
suffer, experiencing substantial physical, mental and emotional pain, anguish and anxiety.

F. Respondeat Superior

6.17 Plaintiff re-alleges the paragraphs set forth above.

6.18 At all times material herein, Defendants were responsible for the actions of
their agents and employees under the theory of respondeat superior.

Vil. PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests a judgment for Plaintiff and against Defendants
Kristopher Clark and the City of Tacoma as follows:

1) Awarding general, special and punitive damages, including damages for pain
and suffering, pursuant to 42 U.S.C. §§ 1983 and 1988, in an amount to be proven at trial;

2) Awarding costs and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988,
or as otherwise available under the law;

3) General and special damages as allowed by Washington law, including but not
limited to economic and non-economic injuries in an amount to be proven at trial;

4) Awarding any and all applicable interest on the judgment; and

5) Awarding such other and further relief as the Court deems just and proper.
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A Professional Limited Liability Company
COMPLAINT FOR DAMAGES 8 of 9

 

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COMPLAINT FOR DAMAGES 9 of 9

 

Case 3:13-cv-05974-MJP Document1 Filed 11/08/13 Page 14 of 16
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DATED this 9th day of October, 2013.

PFAU COCHRAN VERTETIS AMALA, PLLC

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Darrell L. Cochran, WSBA No. 22851
darrell@pcvalaw.com

Loren A. Cochran, WSBA No. 32773
loren@pcvalaw.com

Attorneys for Plaintiff

LAW OFFICE OF THOMAS A. BALERUD

By:_/s/ Thomas A. Balerud

Thomas A. Balerud, WSBA No. 19539

Attorney for Plaintiff
4824-8909-5190, v. 1

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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

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THAN ORN No. 13-2-13886-2 NO: 13-2-13886-2

ow 4 Plaintifi(s) ORDER SETTING CASE SCHEDULE

ie Type of case: PIN
eK Vs. Estimated Trial (days):
Track Assignment: Standard
CITY OF TACOMA Assignment Department: 06
Defendant(s) Docket Code: ORSCS

Confirmation of Service CO 11/7/2013
Confirmation of Joinder of Parties, Claims and Defenses - 2/6/2014
Jury Demand a 2/13/2014
Status Conference (Contact Court for Specific Date) Week of 3/6/2014
Plaintiff's/Petitioner's Disclosure of Primary Witnesses — | 4/3/2014
Defendant's/Respondent's Disclosure of Primary Witnesses _ a 5/1/2014
Disclosure of Rebuttal Witnesses — 6/19/2014
Deadline for Filing Motion to Adjust Trial Date - 7/17/2014
Discovery Cutoff —_ - 8/21/2014
Exchange of Witness and Exhibit Lists and Documentary Exhibits : 9/4/2014
Deadline to file Certificate or Declaration re: Alternative Dispute Resolution (PCLR 16 (c)(3)) 9/11/2014
Deadline for Hearing Dispositive Pretrial Motions _ 9/11/2014
Joint Statement of Evidence - oo / 9/11/2014
Pretrial Conference (Contact Court for Specific Date) Week of 9/25/2014
Trial : 7 10/9/2014 9:00

 

 

Unless otherwise instructed, ALL Attorneys/Parties shall report to the trial court at 9:00 AM on

the date of trial.

NOTICE TO PLAINTIFF/PETITIONER
If the case has been filed, the plaintiff shall serve a copy of the Case Schedule on the defendant(s) with the summons and complaint/
petition: Provided that in those cases where service is by publication the plaintiff shall serve the Case Schedule within five (5) court days
of service of the defendant's first response/appearance. If the case has not been filed, but an initial pleading is served, the Case Schedule
shall be served within five (5) court days of filing. See PCLR 3.

NOTICE TO ALL PARTIES
All attorneys and parties shall make themselves familiar with the Pierce County Local Rules, particularly those relating to case
scheduling. Compliance with the scheduling rules is mandatory and failure to comply shall result in sanctions appropriate to the
violation. If a statement of arbitrability is filed, PCLR 3 does not apply while the case is in arbitration.

Dated: October 10, 2013

Judge JACK NEVIN
Department 06

 
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CIVIL DIVISION
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IN COUNTY CLERK'S OFFICE
PIERCE COUNTY, WASHINGTON

October 10 2013 10:57 AM
KEVIN STOCK

COUNTY CLERK
NO: 13-2-13886-2

SUPERIOR COURT OF WASHINGTON FOR PIERCE COUNTY
CASE COVER SHEET / CIVIL CASES

THAN ORN VS. CITY OF TACOMA
Case Title

Case Number 13-2-13886-2

 

Atty/Litigant DARRELL L. COCHRAN

 

Bar # 22851 Phone (253) 777-0799

 

Address 911 Pacific Ave Ste 200

 

 

City TACOMA

State WA Zip 98402

Please check one category that best describes this case for indexing purposes.
Ifyou cannot determine the appropriate category, please describe the cause of action below. This will create a

Miscellaneous cause which is not subject to PCLR 3.

APPEAL / REVIEW

____ Administrative Law Review (ALR 2) REV 6
___ Civil, Non-Traffic (LCA 2) REV 6

___ Civil, Traffic (LCI 2) REV 6

_____ Land Use Petition (LUP 2) LUPA

CONTRACT / COMMERCIAL

____ Breach of Contract, Commercial Non-Contract
or Commercial-Contract (COM 2) STANDARD

____ Third Party Collection (COL 2) REV 4

JUDGMENT

____*Judgmnt, Another County or Abstract
Only (ABJ 2) Non PCLR

____ Transcript of Judgment (TRJ 2) Non PCLR

____ Foreign Judgment Civil or Judgement,
Another State (FJU 2) Non PCLR

TORT / MOTOR VEHICLE
Death, Non-Death Injuries or Property
Damage Only (TMV 2) STANDARD

TORT /NON MOTOR VEHICLE

____ Other Malpractice (MAL 2) COMPLEX

_¥_ Personal Injury (PIN 2) STANDARD

____ Property Damage (PRP 2) STANDARD
___ Wrongful Death (WDE 2) STANDARD
____ Other Tort,Products Liability or Asbestos
(TTO 2) COMPLEX

MISCELLANEOUS

Revised 03/09/2012 Web cicssup-0025.pdf

PROPERTY RIGHTS

_____ Condemnation (CON 2) STANDARD

_____ Foreclosure (FOR 2) REV 4

____ Property Fairness (PFA 2) STANDARD

____ Quiet Title (QTI 2) STANDARD

____ Unlawful Detainer / Eviction (UND 2) REV 4
_____ Unlawful Detainer / Contested (UND 2) REV 4

OTHER COMPLAINT OR PETITION

___ *Compel/Confirm Bind Arbitration, Deposit of Surplus Funds,
Interpleader, Subpoenas, Victims’ Employment Leave, or
Wireless Number Disclosure, Miscellaneous (MSC 2) REV 4

____ Injunction (INJ 2) REV 4

____ Malicious Harassment (MHA 2) Non PCLR

_____ Meretricious Relationship (MER 2) REV 4

_____ Minor Settlement/No Guardianship(MST2) REV 4

___ Pet for Civil Commit/Sex Predator (PCC2) REV 4

____ Property Damage Gangs (PRG 2) REV 4

____ Seizure of Property/Comm. of Crime(SPC2) REV 4

____ Seizure of Proprty Reslt from Crime(SPR2) REV 4

TORT / MEDICAL MALPRACTICE
Hospital, Medical Doctor, or Other Health Care Professional
(MED2)COMPLEX

WRIT

____ Habeas Corpus (WHC 2) REV 4
____ Mandamus (WRM 2) REV 4

_____ Review (WRV 2) REV 4

____ Miscellaneous Writ (WMW 2) REV 4

 
